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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 ASHTON ORR, et al.,
                                                    Case No. 1:25-cv-10313-JEK
                               Plaintiffs,

                     v.

 DONALD J. TRUMP, et al.,
                               Defendants.



    JOINT MOTION FOR PROPOSED AMENDED AGREED PROTECTIVE ORDER
                  REGARDING PLAINTIFF PSEUDONYMS

       The Parties hereby submit this Joint Motion for Proposed Amended Agreed Protective

Order Regarding Plaintiff Pseudonyms.

       On February 19, 2025, Plaintiffs filed a Motion for Leave to Proceed Pseudonymously.

ECF 38. On March 18, 2025, the Court granted that motion and entered a Protective Order

governing disclosure of Plaintiffs Boe and Soe’s real names. On May 21, 2025, Plaintiffs filed a

second Motion to Proceed Pseudonymously (ECF 96) (the “Second Pseudonym Motion”)

concerning newly-added plaintiff David Doe (“Doe”). Defendants do not oppose the Second

Pseudonym Motion.

       As stated in the Second Pseudonym Motion, Plaintiffs have no objection to providing

Defendants with the non-pseudonymous name of Doe under an appropriate protective order. To

facilitate Defendants’ counsel receiving the non-pseudonymous name of Doe prior to the Court

ruling on the Second Pseudonym Motion, and to provide protections should the Court grant the Second

Pseudonym Motion, the Parties have agreed to the accompanying Proposed Amended Agreed

Protective Order Regarding Plaintiff Pseudonyms, which brings Doe’s identity and identifying

information within the protection of the existing Agreed Protective Order.

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       The Parties therefore respectfully request that the Court enter the Proposed Amended

Agreed Protective Order Regarding Plaintiff Pseudonyms.


 May 21, 2025                                    Respectfully submitted,

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             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I, Isaac D. Chaput, hereby certify that in accordance with Local Rule 7.1(a)(2), counsel for

Plaintiffs communicated via email on May 20, 2025 with counsel at the Department of Justice,

Elizabeth B. Layendecker, who indicated that Defendants joined this motion.


                                                             /s/ Isaac D. Chaput
                                                              Isaac D. Chaput


                                CERTIFICATE OF SERVICE

       I hereby certify that on May 21, 2025, a true copy of the foregoing will be electronically

filed with the Clerk of Court using the CM/ECF system, which will then send a notification of

such filing (NEF) to counsel of record.




                                                             /s/ Isaac D. Chaput
                                                             Isaac D. Chaput




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